Case: 1:22-cv-04127 Document #: 21-13 Filed: 11/07/22 Page 1 of 2 PageID #:262




                      EXHIBIT
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              Case: 1:22-cv-04127 Document #: 21-13 Filed: 11/07/22 Page 2 of 2 PageID #:263

                                                                                                Statement
Haidar Dawood LLC                                                                             TERRELL CLAY
20 S 3RD ST SUITE 210
Columbus, OH 43215                                                                              9/9/2022
Phone #: (380)444-5871
                                                                                               Unit #34734
                                                                                             (TERRILL CLAY)




           TERRELL CLAY

           Chicago, IL 60619



 Trips :

   Trip No.                      Description                              Mileage      Freight Amount        Date          Amount
    297330               Lawrenceville, GA-Somerset, KY                     287            $800.00        09/01/2022      $704.00
    297489               Lexington, KY-Indianapolis, IN                     183            $550.00        09/02/2022      $484.00
                                                                                                                 Total:   $1,188.00
 Advances and Deductions :
                                            Description                                                      Date          Amount
                                            Payment - 8                                                   09/06/2022      ($300.00)
                                          Cargo Insurance                                                 09/06/2022      ($250.00)
                                             Trailer rent                                                 09/06/2022      ($225.00)
                                                                                                                 Total:   ($775.00)
 Fuel Card :
     Description              City           St.   Gallons     Fuel ($)      Advance ($)     Misc. ($)       Date          Amount
  Fuel - EMPORIA, KS        EMPORIA          KS      94.49      $481.81           $0.00       $0.00       08/29/2022      ($481.81)
  Fuel - RISING FAWN,
                         RISING FAWN         GA      54.92      $280.03           $0.00       $30.00      08/30/2022      ($310.03)
           GA
     Cash advance         TALLAPOOSA         GA       0.00       $0.00            $50.00      $0.00       08/31/2022       ($51.00)
        Fuel -
                         WILLIAMSBURG        KY      69.63      $362.00           $0.00       $0.00       09/02/2022      ($362.00)
  WILLIAMSBURG, KY
   Fuel - WADDY, KY         WADDY            KY      69.32      $367.32           $0.00       $22.18      09/03/2022      ($389.50)
                                                                                                                 Total: ($1,594.34)

                                                                                                         Check Amount: ($1,181.34)




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Haidar Dawood LLC                                                                                                           Page 1 Of 1
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